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                                                      13   FELIPE MAGALLON
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                                                      14
                                                                                 UNITED STATES DISTRICT COURT
                                                      15                       SOUTHERN DISTRICT OF CALIFORNIA
                                                      16
                                                           FELIPE MAGALLON, individually and  )      Case No.:   '17CV0958 BAS BGS
                                                      17   on behalf of others similarly situated,
                                                                                              )
                                                      18
                                                                                              )      CLASS ACTION
                                                                        Plaintiff,            )
                                                      19                                      )      COMPLAINT FOR VIOLATION OF:
                                                      20
                                                                  vs.                         )
                                                                                              )      1. THE FAIR DEBT COLLECTION
                                                      21                                      )      PRACTICES ACT; AND
                                                      22
                                                           ALLIED INTERSTATE LLC              )
                                                                                              )      2. THE ROSENTHAL FAIR DEBT
                                                      23                Defendant.            )      COLLECTION PRACTICES ACT
                                                      24
                                                                                              )
                                                                                              )
                                                      25                                      )      DEMAND FOR JURY TRIAL
                                                      26
                                                                                              )
                                                                                              )
                                                      27                                      )
                                                      28   __________________________________ )

                                                                                                -1-
                                                                                      CLASS ACTION COMPLAINT
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                                                       1         Plaintiff FELIPE MAGALLON alleges as follows:

                                                       2                                        INTRODUCTION
                                                       3         1.       Plaintiff FELIPE MAGALLON (hereinafter referred to as “Plaintiff”),

                                                       4   brings this lawsuit against ALLIED INTERSTATE LLC (hereinafter “Defendant”)
                                                       5   for violations of the Federal Fair Debt Collection Practices Act (“FDCPA”), and
                                                       6   Rosenthal Fair Debt Collections Practices Act (“Rosenthal FDCPA”).
                                                       7         2.       Plaintiff brings this action to seek actual damages, statutory damages,
                                                       8   injunctive relief, attorneys’ fees and costs, and other relief the Court deems
                                                       9   appropriate.
                                                      10         3.       Plaintiff alleges as follows, upon personal knowledge as to himself and
                                                      11   his own acts and experiences, and, as to all other matters, upon information and
                                                      12   belief, including investigation conducted by his attorneys.
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                                                      13         4.       Plaintiff makes these allegations on information and belief, with the
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                                                      14   exception of those allegations that pertain to Plaintiff, or to a Plaintiff's counsel,
                                                      15   which Plaintiff alleges on personal knowledge.
                                                      16         5.       While many violations are described below with specificity, this
                                                      17   Complaint alleges violations of the statutes cited in their entirety.
                                                      18         6.       Unless otherwise stated, Plaintiff alleges that any violations by
                                                      19   Defendant were knowing and intentional, and that Defendant did not maintain
                                                      20   procedures reasonably adapted to avoid any such violations.
                                                      21         7.       Unless otherwise indicated, the use of Defendant in this Complaint
                                                      22   includes all agents, employees, officers, members, directors, heirs, successors,
                                                      23   assigns, principals, trustees, sureties, subrogees, representatives, and insurers of
                                                      24   Defendant.
                                                      25                                           PARTIES
                                                      26         8.       Plaintiff is, and at all times mentioned herein was, an individual, residing
                                                      27   in the County of San Diego, State of California.
                                                      28         9.       Plaintiff is a “consumer” as the term is defined by 15 U.S.C. section

                                                                                                    -2-
                                                                                          CLASS ACTION COMPLAINT
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                                                       1   1692a(3) and a “debtor” as the term is defined by California Civil Code section

                                                       2   1788.2(h).

                                                       3         10.    Plaintiff is informed and believes, and thereupon alleges, that Defendant

                                                       4   is, and at all times mentioned herein was, a limited liability company who was
                                                       5   conducting and engaging in business in the County of San Diego, State of California.
                                                       6         11.    Plaintiff is informed and believes, and thereupon alleges, that Defendant
                                                       7   uses an instrumentality of interstate commerce or the mails in a business the principal
                                                       8   purpose of which is the collection of debts, or who regularly collects or attempts to
                                                       9   collect, directly or indirectly, debts owed or due or asserted to be owed or due to
                                                      10   another and is therefore a “debt collector” as the term is defined by 15 U.S.C. section
                                                      11   1692a(6).
                                                      12         12.    Plaintiff is informed and believes, and thereupon alleges that Defendant
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                                                           is a “debt collector” as the term is defined by Civil Code section 1788.2(c).
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                                                      14         13.    Defendant attempted to collect a “consumer debt” as the term is defined
                                                      15   by the FDCPA and Rosenthal FDCPA.
                                                      16         14.    Plaintiff is informed and believes and thereupon alleges that at all times
                                                      17   herein mentioned each of the Defendants was the agent, servant, employee, or partner
                                                      18   of each of the remaining defendants and, in committing the acts and omissions
                                                      19   hereinafter alleged, was acting within the course and scope of such agency,
                                                      20   employment, partnership, or other business relationship, and were each responsible
                                                      21   for the acts and omissions alleged in this complaint.
                                                      22                              JURISDICTION AND VENUE
                                                      23         15.    This Court has jurisdiction under 15 U.S.C. section 1692k(d), 28 U.S.C.
                                                      24   section 1331, and 28 U.S.C. section 1367 for supplemental state claims.
                                                      25         16.    This action arises out of violations of the FDCPA and Rosenthal
                                                      26   FDCPA. Because Defendant does business within the State of California, County of
                                                      27   San Diego, personal jurisdiction is established.
                                                      28         17.    Venue is proper pursuant to 28 U.S.C. section 1391.

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                                                                                        CLASS ACTION COMPLAINT
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                                                       1                                    RELEVANT FACTS

                                                       2         18.    Sometime after June 2, 2016, Plaintiff received his first collection notice

                                                       3   dated June 2, 2016 (hereinafter referred to as “Validation Notice”) from Defendant,

                                                       4   attempting to collect a debt in the amount of $3,271.00. The debt was allegedly owed
                                                       5   to Synchrony Bank. A copy of the Validation Notice is attached hereto as Exhibit 1,
                                                       6   and is incorporated herein by reference.
                                                       7         19.    Defendant’s Validation Notice does not state that the $3,271.00 debt is
                                                       8   increasing due to accruing interest, late charges, or other fees. In fact, Defendant’s
                                                       9   Validation Notice is completely devoid of any language that would either confirm or
                                                      10   deny the existence of acquiring interest, late charges, or other fees.
                                                      11         20.    Sometime after July 21, 2016, Plaintiff received a second collection
                                                      12   notice, dated July 21, 2016, from Defendant attempting to collect a debt in the amount
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                                                      13   of $3,479.00. The debt increased from $3,271.00 to $3,479.00. A copy of the July
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                                                      14   21, 2016 collection notice is attached hereto as Exhibit 2, and is incorporated herein
                                                      15   by reference.
                                                      16         21.    Upon information and belief, Defendant was either charging daily
                                                      17   accruing interest, late charges, or other fees, which increased the total amount owed.
                                                      18         22.    Upon information and belief, Defendant’s debt collection practice is
                                                      19   largely automated and utilizes standardized form letters or templates.
                                                      20                                  CLASS ALLEGATIONS
                                                      21         23.    Plaintiff brings this action on his own behalf, and on behalf of all others
                                                      22   similarly situated.
                                                      23                                       FDCPA CLASS
                                                      24         24.    Plaintiff defines the FDCPA CLASS as follows:
                                                      25                All persons located in the State of California to whom
                                                                        Defendant sent, within one year before the date of this
                                                      26
                                                                        complaint and in connection with the collection of a consumer
                                                      27                debt, an initial written communication that is substantially
                                                                        similar or materially identical to Defendant’s June 2, 2016
                                                      28
                                                                        Validation Notice which was not returned undelivered by the
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                                                                                         CLASS ACTION COMPLAINT
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                                                       1                United States Postal Service, in which Defendant did not
                                                                        include language that the amount of the debt was subject to
                                                       2                increase due to accruing interest, late charges, or other fees.
                                                       3
                                                                                       ROSENTHAL FDCPA CLASS
                                                       4

                                                       5         25.    Plaintiff defines the ROSENTHAL FDCPA CLASS as follows:
                                                       6                All persons located in the State of California to whom
                                                                        Defendant sent, within one year before the date of this
                                                       7                complaint and in connection with the collection of a consumer
                                                       8                debt, an initial written communication that is substantially
                                                                        similar or materially identical to Defendant’s June 2, 2016
                                                       9                Validation Notice which was not returned undelivered by the
                                                      10                United States Postal Service, in which Defendant did not
                                                                        include language that the amount of the debt was subject to
                                                      11
                                                                        increase due to accruing interest, late charges, or other fees.
                                                      12
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                                                                 26.    The FDCPA Class and the Rosenthal FDCPA Class shall be referred to
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                           SAN DIEGO, CA 92150




                                                           jointly as “The Classes.”
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                                                      14
                                                                 27.    Defendant and its employees or agents are excluded from the Classes.
                                                      15
                                                                 28.    Plaintiff does not know the exact number of persons in the Classes, but
                                                      16
                                                           believes them to be in the several hundreds, if not thousands, making joinder of all
                                                      17
                                                           these actions impracticable.
                                                      18
                                                                 29.    The identity of the individual members is ascertainable through
                                                      19
                                                           Defendant’s and/or Defendant’s agents’ records or by public notice.
                                                      20
                                                                 30.    There is a well-defined community of interest in the questions of law and
                                                      21
                                                           fact involved affecting the members of the Classes. The questions of law and fact
                                                      22
                                                           common to the Classes predominate over questions affecting only individual class
                                                      23
                                                           members, and include, but are not limited to, the following:
                                                      24
                                                                 a)     Whether Defendant violated the FDCPA by sending a written
                                                      25
                                                                        communication substantially in the form of Exhibit 1 to the members of
                                                      26                the Classes;
                                                      27
                                                                 b)     Whether Defendant violated the Rosenthal FDCPA by sending using a
                                                      28                written communication substantially in the form of Exhibit 1 to the

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                                                                                          CLASS ACTION COMPLAINT
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                                                       1                members of the Classes;

                                                       2         c)     Whether members of the Classes are entitled to the remedies under the
                                                       3                FDCPA;

                                                       4         d)     Whether members of the Classes are entitled to the remedies under the
                                                       5                Rosenthal FDCPA;
                                                       6         e)     Whether members of the Classes are entitled to declaratory relief;
                                                       7
                                                                 f)     Whether members of the Classes are entitled to an award of reasonable
                                                       8                attorneys’ fees and costs of suit pursuant to the FDCPA;
                                                       9
                                                                 g)     Whether members of the Classes are entitled to an award of reasonable
                                                      10
                                                                        attorneys’ fees and costs of suit pursuant to the Rosenthal FDCPA.
                                                      11
                                                                 31.    Plaintiff will fairly and adequately protect the interest of the Classes.
                                                      12
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                                                                 32.    Plaintiff has retained counsel experienced in consumer class action
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                                                           litigation and in handling claims involving unlawful debt collection practices.
                                                      14
                                                                 33.    Plaintiff’s claims are typical of the claims of the Classes, which all arise
                                                      15
                                                           from the same operative facts involving unlawful collection practices.
                                                      16
                                                                 34.    A class action is a superior method for the fair and efficient adjudication
                                                      17
                                                           of this controversy.
                                                      18
                                                                 35.    Class-wide damages are essential to induce Defendant to comply with
                                                      19
                                                           the Federal and State laws alleged in the Complaint.
                                                      20
                                                                 36.    The interests of class members in individually controlling the
                                                      21
                                                           prosecution of separate claims against Defendant is small because the maximum
                                                      22
                                                           statutory damages in an individual action under the FDCPA or Rosenthal FDCPA is
                                                      23
                                                           $1,000. Management of these claims is likely to present significantly fewer
                                                      24
                                                           difficulties than those presented in many class claims, e.g. securities fraud.
                                                      25
                                                                 37.    Defendant has acted on grounds generally applicable to the Classes,
                                                      26
                                                           thereby making appropriate final declaratory relief with respect to the class as a
                                                      27
                                                           whole.
                                                      28


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                                                       1         38.    Plaintiff contemplates providing notice to the putative class members by

                                                       2   direct mail in the form of a postcard and via Internet website.

                                                       3         39.    Plaintiff requests certification of a hybrid class combining the elements

                                                       4   of Fed. R. Civ. P. 23(b)(3) for monetary damages and Fed. R. Civ. P. 23(b)(2) for
                                                       5   equitable relief.
                                                       6                               FIRST CAUSE OF ACTION
                                                                                        (Violation of the FDCPA)
                                                       7
                                                                 40.    Plaintiff re-alleges all paragraphs above, as if fully set forth herein.
                                                       8
                                                                 COUNT 1
                                                       9
                                                                 41.    Defendant violated 15 U.S.C. section 1692g(a)(1) because its Validation
                                                      10
                                                           Notice failed to clearly state the amount of the debt. Defendant failed to clearly state
                                                      11
                                                           the amount of the debt because it failed to disclose that the debt was subject to daily
                                                      12
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                                                           accruing interest, late charges, or other fees.      It is well established that a debt
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                                                           collector, who attempts to collect accruing interest, late charges, or other fees on a
                                                      14
                                                           debt, must use some type of safe harbor language informing the debtor that the debt
                                                      15
                                                           increases due to daily accruing interest, late charges, or other fees. See Akram v.
                                                      16
                                                           California Business Bureau Inc., 2016 WL 7029262 (S.D. Cal. Oct. 3, 2016); Chuway
                                                      17
                                                           v. National Action Financial Services, Inc., 362 F.3d 944, 949 (7th Cir. 2004); Miller
                                                      18
                                                           v. McCalla, Raymer, Padrick, Cobb, Nichols, & Clark, L.L.C., 214 F.3d 872, 876 (7th
                                                      19
                                                           Cir. 2000); Dragon v. I.C. System, Inc., 483 F.Supp.3d 198, 203 (D. Conn. 2007).
                                                      20
                                                                 COUNT 2
                                                      21
                                                                 42.    Defendant violated 15 U.S.C. sections 1692e, 1692e(2)(A), and
                                                      22
                                                           1692e(10) because its Validation Notice failed to disclose that the debt is subject to
                                                      23
                                                           daily accrual of interest, late charges, or other charges, which makes the Validation
                                                      24
                                                           Notice deceptive, confusing, and misleading. See Avila v. Riexinger & Assocs., LLC,
                                                      25
                                                           817 F.3d 72 (2d Cir. 2016). In Avila, the Second Circuit stated the following:
                                                      26
                                                                 “A reasonable consumer could read the notice and be misled into believing that
                                                      27
                                                                 she could pay her debt in full by paying the amount listed on the notice. In fact,
                                                      28         however, if interest is accruing daily, or if there are undisclosed late fees, a

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                                                       1          consumer who pays the “current balance” stated on the notice will not know
                                                                  whether the debt has been paid in full. The debt collector could still seek the
                                                       2          interest and fees that accumulated after the notice was sent but before the
                                                       3          balance was paid, or sell the consumer's debt to a third party, which itself could
                                                                  seek the interest and fees from the consumer.
                                                       4

                                                       5          Because the statement of an amount due, without notice that the amount is
                                                                  already increasing due to accruing interest or other charges, can mislead the
                                                       6          least sophisticated consumer into believing that payment of the amount stated
                                                       7          will clear her account, we hold that the FDCPA requires debt collectors, when
                                                                  they notify consumers of their account balance, to disclose that the balance may
                                                       8          increase due to interest and fees
                                                       9
                                                           See Avila, 817 F.3d at p. 76; also see the reasoning of Dragon, 483 F.Supp.3d 198,
                                                      10
                                                           201-203; Marucci v. Cawley & Bergmann LLP., 2014 WL 7140496 (D. N.J 2014);
                                                      11
                                                           Michalek v. ARS Nat. Sys., Inc. 2011 WL 6180498 at *3-5 (M.D. Pa. 2011); Smith v.
                                                      12
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                                                           Lyons, Doughty & Veldhuius, P.C. 2008 WL2885887 at *7 (D. N.J. 2008), which
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                                                           Plaintiff incorporates in this complaint.
                                                      14
                                                                  43.    As a result of each and every violation of the FDCPA, as alleged in
                                                      15
                                                           Counts 1 and 2, Plaintiff has suffered actual damages and harm resulting from
                                                      16
                                                           Defendant’s actions as heretofore alleged, including but not limited to worry,
                                                      17
                                                           emotional distress, anxiety, and humiliation, the exact amount of which is to be
                                                      18
                                                           proven at trial.
                                                      19
                                                                  44.    As a result of each and every violation of the FDCPA, as alleged in
                                                      20
                                                           Counts 1 and 2, Plaintiff incurred additional actual damages including, but not limited
                                                      21
                                                           to, transportation and gasoline costs to the law firm, telephone call charges, copies,
                                                      22
                                                           postage, and other damages.
                                                      23
                                                                  45.    As a result of each and every violation of the FDCPA, as alleged in
                                                      24
                                                           Counts 1 and 2, Plaintiff is entitled to actual damages pursuant to 15 U.S.C. section
                                                      25
                                                           1692k(a)(1); statutory damages in an amount up to $1,000.00 pursuant to 15 U.S.C.
                                                      26
                                                           section 1692k(a)(2)(A); and reasonably attorneys’ fees and costs pursuant to 15
                                                      27
                                                           U.S.C. section 1692k(a)(3).
                                                      28


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                                                                                         CLASS ACTION COMPLAINT
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                                                       1                              SECOND CAUSE OF ACTION
                                                                                    (Violation of the Rosenthal FDCPA)
                                                       2
                                                                 46.    Plaintiff re-alleges all paragraphs above, as if fully set forth herein.
                                                       3
                                                                 47.    Any violation of the FDCPA is a violation of California Civil Code
                                                       4
                                                           section 1788.17, also known as the Rosenthal FDCPA, because section 1788.17
                                                       5
                                                           incorporates the FDCPA.
                                                       6
                                                                 48.    Defendant violated Civil Code section 1788.17 because it violated 15
                                                       7
                                                           U.S.C. sections 1692e, 1692e(2)(A) and 1692e(10), and 1692g(a)(1), as discussed
                                                       8
                                                           above.
                                                       9
                                                                 49.    The Ninth Circuit in Gonzales v. Arrow Fin. Servs., LLC, 660 F.3d 1055,
                                                      10
                                                           1066 (9th Cir. 2011) has ruled that the Rosenthal FDCPA incorporates the FDCPA’s
                                                      11
                                                           class action damages provision in 15 U.S.C. section 1692k(a)(2)(B) via California
                                                      12
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                                                           Civil Code section 1788.17.
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                                                                 50.    As a result of each and every violation of the Rosenthal FDCPA,
                                                      14
                                                           Plaintiff has suffered actual damages and harm resulting from Defendant’s actions as
                                                      15
                                                           heretofore alleged, including but not limited to worry, emotional distress, anxiety, and
                                                      16
                                                           humiliation, the exact amount of which is to be proven at trial.
                                                      17
                                                                 51.    As a result of each and every violation of the Rosenthal FDCPA,
                                                      18
                                                           Plaintiff incurred additional actual damages including, but not limited to,
                                                      19
                                                           transportation and gasoline costs to the law firm, telephone call charges, copies,
                                                      20
                                                           postage, and other damages.
                                                      21
                                                                 52.    As a result of each and every violation of the Rosenthal FDCPA,
                                                      22
                                                           Plaintiff is entitled to actual damages pursuant to California Civil Code section
                                                      23
                                                           1788.30(a); statutory damages under 1692k(a)(2)(A) which is incorporated by
                                                      24
                                                           California Civil Code section 1788.17; statutory damages for a knowing or willful
                                                      25
                                                           violation in the amount of up to $1,000.00 pursuant to California Civil Code section
                                                      26
                                                           1788.30(b); and reasonable attorney’s fees and costs pursuant to California Civil
                                                      27
                                                           Code section 1788.30(c).
                                                      28


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                                                                                         CLASS ACTION COMPLAINT
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                                                      1                   REQUEST FOR PRESERVATION OF EVIDENCE

                                                      2          1.     Preserve all forms of electronic data, regardless of where the data exists,

                                                      3    without modification to or deletion of any potentially discoverable data;

                                                      4          2.     Suspend all procedures that may alter or delete computer data;
                                                      5          3.     Prevent deleting, overwriting, defragmenting, or compressing the data;
                                                      6          4.     Preserve all archived back-up tapes and ensure that (a) if archive tapes
                                                      7    are rotated, the relevant tapes are removed from the rotation; (b) if backups are made
                                                      8    to hard drives, preserve the hard drive as well;
                                                      9          5.     Preserve the contents of all hard drives, network drives, tape drives,
                                                      10   optical drives, floppy disks, CD and DVD drives, and all other types of drives or
                                                      11   storage media that are within the possession, custody or control of all people who
                                                      12   have knowledge of relevant facts and those who work with them, such as assistants;
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                                                      13         6.     Preserve the contents of all information on portable computers–such as
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                                                      14   laptops and palmtops–used by those people as well as home computers, if these are
                                                      15   used for work purposed;
                                                      16         7.     Preserve the contents of all data on computers that were used since the
                                                      17   limitations period on the lawsuit began (for example; one year prior to filing) but that
                                                      18   are no longer in use.
                                                      19                              REQUEST FOR JURY TRIAL
                                                      20         As declared by the seventh amendment to the Constitution of the United States
                                                      21   of America, Plaintiff is entitled to, and demands, a trial by jury.
                                                      22                 PRAYER FOR DAMAGES AND OTHER REMEDIES
                                                      23         1.     An order certifying the Class as requested herein;
                                                      24         2.     An order appointing the Plaintiff as the representative of the Class;
                                                      25         3.     An order certifying Plaintiff’s counsel as Class Counsel;
                                                      26         4.     An order requiring Defendant, at its own cost, to notify all members of
                                                      27   the Classes of the unlawful acts discussed herein;
                                                      28         5.     Injunctive relief requiring Defendant to clearly state the accurate amount

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                                                      1    of the debt in its Validation Notice in compliance with 15 U.S.C. section 1692g(a)(1);

                                                      2          6.     Injunctive relief requiring Defendant to disclose, in its Validation Notice,

                                                      3    that the debt is subject to daily accrual of interest, late charges, or other charges;

                                                      4          7.     An award of statutory damages in the amount of $1,000.00, pursuant to
                                                      5    15 U.S.C. section 1692k(a)(2)(A), for each plaintiff and putative class member;
                                                      6          8.     An award of statutory damages in the amount of $1,000.00, pursuant to
                                                      7    California Civil Code section 1788.17, for each plaintiff and putative class member;
                                                      8          9.     An award of statutory damages in the amount of $1,000.00, pursuant to
                                                      9    California Civil Code section 1788.30(b), for each plaintiff and putative class
                                                      10   member;
                                                      11         10.    An award of costs of litigation and reasonable attorney’s fees, pursuant
                                                      12   to 15 U.S.C. section 1692k(a)(3);
                   11251 RANCHO CARMEL DR. # 500694
                     A PROFESSIONAL CORPORATION




                                                                        An award of costs of litigation and reasonable attorney’s fees, pursuant
MASHIRI LAW FIRM




                                                      13         11.
                          FAX: (858) 858-348-4939
                           SAN DIEGO, CA 92150
                            TEL: (858) 348-4938




                                                      14   to California Civil Code section 1788.30(c); and
                                                      15         12.    Any and all other relief that this Court deems just and proper.
                                                      16   Respectfully Submitted,
                                                      17   DATED: May 9, 2017                              MASHIRI LAW FIRM
                                                                                                           A Professional Corporation
                                                      18

                                                      19                                                   By: /s/ Alex Asil Mashiri
                                                                                                              Alex Asil Mashiri
                                                      20                                                      Attorney for Plaintiff
                                                      21                                                      Felipe Magallon
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                                                                                          CLASS ACTION COMPLAINT
